 1                                                             THE HONORABLE JOHN H. CHUN

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 6
                                 UNITED STATES DISTRICT COURT
 7                              WESTERN DISTRICT OF WASHINGTON
                                          AT SEATTLE
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10   FEDERAL TRADE COMMISSION, et al.,                        CASE NO. 2:23-cv-01495

11                     Plaintiffs,                            DECLARATION OF EDWARD H.
                                                              TAKASHIMA IN SUPPORT OF
12                v.                                          PLAINTIFFS’ OPPOSITION TO
                                                              DEFENDANT’S MOTION TO
13   AMAZON.COM, INC., a corporation,                         EXTEND TIME TO RESPOND TO
                                                              THE COMPLAINT
14                     Defendant.
                                                              NOTE ON MOTION CALENDAR:
15                                                            October 27, 2023

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17          I, Edward H. Takashima, declare as follows:

18          1.     I am Senior Trial Counsel in the Federal Trade Commission’s (“FTC”) Bureau of

19 Competition, and represent the FTC in the above-captioned action. I am over eighteen years of

20 age and am competent to testify to the matters set forth in this declaration. I make the following

21 statements based on my personal knowledge.

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     TAKASHIMA DECL. ISO                                             FEDERAL TRADE COMMISSION
     PLAINTIFFS’ OPP. TO                                                 600 Pennsylvania Avenue, NW
     MOTION TO EXTEND TIME                                                      Washington, DC 20580
     TO RESPOND TO THE COMPLAINT - 1                                                   (202) 326-2222
     CASE NO. 2:23-cv-01495-JHC
 1         2.      I have participated in several meet and confers with Amazon’s counsel in this

 2 case. The parties met and conferred by videoconference on October 4, 10, and 13, with further

 3 discussions by email on October 14 and 15, 2023.

 4         3.      Attached as Exhibit A is a true and correct copy of an email chain between

 5 counsel for Plaintiffs and counsel for Amazon in this action.

 6         I declare under penalty of perjury that the foregoing is true and correct.

 7         Executed on October 20, 2023, in Washington, DC.

 8                                                s/ Edward H. Takashima
                                                  Edward H. Takashima
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     TAKASHIMA DECL. ISO                                              FEDERAL TRADE COMMISSION
     PLAINTIFFS’ OPP. TO                                                  600 Pennsylvania Avenue, NW
     MOTION TO EXTEND TIME                                                       Washington, DC 20580
     TO RESPOND TO THE COMPLAINT - 2                                                    (202) 326-2222
     CASE NO. 2:23-cv-01495-JHC
